                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION
                          NO: 5:01-CR-276-2-FA(3)
                               5:06-CR-92
UNITED STATES OF AMERICA

v.                                              MEMORANDUM OPINION AND
                                                ORDER
DONALD MORRISON



         Pending before the court is defendant's motion for
recusal.       Under 28 U.S.C. § 144, a judge shall recuse himself in
cases in which the party seeking recusal files a timely and
sufficient affidavit stating the judge has a personal bias or
prejudice against either the affiant or in favor of any adverse
party.   The affidavit must allege a personal bias from an
extrajudicial source.      See Sine v. Local No. 992 Int'l
Brotherhood of Teamsters, 882 F.2d 913, 914 (4th Cir. 1989).
         Under 28 U.S.C. § 455, recusal is appropriate "if a
person with knowledge of the relevant facts might reasonably
question [a judge's] impartiality."          United States v. Cherry, 330
F.3d 658, 665 (4th Cir. 2003).       On appeal, recusal decisions are
reviewed under an abuse of discretion standard.            United States v.
Carmichael, 726 F.2d 158, 162 (4th Cir. 1984).
         Recusal is not warranted under either statute.*             No person
with knowledge of the relevant facts could "reasonably" question
the undersigned's impartiality in this matter.            Basically,


           *
          Defendant has not complied with the procedural
requirements under 28 U.S.C. § 144. However, even if he had done
so, recusal would still not be warranted.


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defendant is not happy with various rulings of the court in his
cases.   However, as the court has advised defendant on numerous
occasions, he is free to take up all these issues on appeal after
he is sentenced.
         Based on the foregoing, defendant's motion is DENIED.
         The Clerk is directed to send copies of this Memorandum
Opinion and Order to all counsel of record, the United States
Marshal, and the Probation Office of this court.
         IT IS SO ORDERED this 25th day of July, 2007.
                                 ENTER:



                                David A. Faber
                                United States District Judge




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